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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 JAAN MARION, Individually and
 On Behalf of All Others Similarly
 Situated,
                                              CIVIL ACTION FILE
         Plaintiff,
                                             N0.1:21-CV-4936-MHC
 V.




 FLEETCOR TECHNOLOGIES
 OPERATING COMPANY, LLC,
 and FLEETCOR TECHNOLOGIES
 INC.,


         Defendants.


                                     ORDER

      This case comes before the Court on the parties' Joint Motion for Approval

of Settlement Agreement ("Mot. for Approval") [Doc. 46].

      Plaintiff Jaan Marion ("Marion"), on behalf of himself and others similarly

situated, sued his joint employers. Defendants Fleetcor Technologies Operating

Company, LLC and Fleetcor Technologies, Inc. (collectively, "Fleetcor") to

recover unpaid overtime compensation due under the Fair Labor Standards Act, 29

U.S.C. § 201 etseq. ("FLSA"). CompL [Doc. 1] ^ 4-5, 87-105. Marion is joined

by seventeen current and/or former employees ofFleetcor (collectively,


'Plaintiffs") who have opted into this action. Mot. for Approval at 4; see also
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Notices of Filing Consent to Join Collective Action Forms [Docs. 4 through 8, 10,

12, 13, 15,23,25,27,and 40].

      The parties stipulated to a stay of the case while they engaged in private

mediation [Doc. 38] which this Court granted. April 14, 2022, Order [Doc. 39].

On May 18, 2022, the parties notified the Court that they had reached a settlement

and indicated that a written settlement agreement would be executed and submitted

to the Court for approval. Pl.'s Notice to the Court ofFLSA Settlement [Doc. 42].

On July 7, 2022, the parties requested that this Court review their proposed

settlement agreement in camera. Joint Mot. to Submit Proposed Settlement


Agreement to the Court for In Camera Review [Doc, 44], which this Court denied.

July 7, 2022, Order [Doc. 45]. In its Order denying in camera review of the

settlement agreement, the Court noted that "[t]he presumption of public access to

FLSA settlement agreements is particularly strong." Id. at 4. The Court further


observed that "[t]he reasons urged by the parties to justify their extraordinary

request to review the settlement agreement in camera ... are not extraordinary but


typical reasons that employers prefer to keep their settlements confidential." Id.


(citing cases). Therefore, the Court ordered the parties to file their settlement

agreement on the public docket. Id. at 7.
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      The parties have now filed their Motion for Approval, attaching the parties

FLSA Settlement Agreement ("Settlement Agreement") [Doc. 46-1]. The

Settlement Agreement purports to settle all of Plaintiffs' claims arising from this

action. Settlement Agreement § 1. The Settlement Agreement also includes a

confidentiality section prohibiting Marion, two of the opt-in plaintiffs, and

Plaintiffs' counsel from disclosing the terms of the Settlement Agreement. Id.

§ 6.A. In addition, the Settlement Agreement provides for an additional payment

of five-hundred dollars to opt-in plaintiff Lauren Vogt "in consideration for the

confidentiality and related provisions agreed to by Vogt in Section 6." Id. § 2B.

As previously discussed in this Court's Order denying in camera review of the

Settlement Agreement, this Court will not approve confidential FLSA settlements.

July 7, 2022, Order at 3-7.

      The Court conducted a telephone conference on July 15, 2022, and has

reviewed the parties' Settlement Agreement to determine its adequacy and

consistency with the requirements of the Fair Labor Standards Act, 29 U.S.C.

§216. See Lvnn's Food, 679 F.2d at 1353. After a review of the parties'

submissions, the entirety of the record, and argument from counsel, the Court finds


that the Settlement Agreement is a fair and reasonable resolution of the underlying

dispute with the exception of Section 6.A of the Settlement Agreement, which
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contains a confidentiality provision, and Section 2.B, which provides additional


compensation in return for agreement to the confidentiality provision. Because

these provisions impennissibly frustrate the implementation of the FLSA, the

Court hereby STRIKES Section 2.B and Section 6.A of the Settlement

Agreement. The remainder of the settlement is approved. The parties have


consented to proceeding with the settlement despite the Court striking Sections 2.B

and 6.A.]


       In accordance with the foregoing, it is hereby ORDERED that the parties'

Joint Motion for Approval of Settlement Agreement [Doc. 46] is GRANTED AS

MODIFIED by this Order. Sections 2.B and 6.A are hereby struck from the

Settlement Agreement. The remaining provisions are approved. Upon


consideration of the parties' Motion for Approval, the Court ORDERS that the

payments of the settlement amount and attorney's fees shall be made as provided

in the Settlement Agreement. Except as stated in the Settlement Agreement, each


party shall bear its own costs of litigation, including attorney's fees.




 Moreover, the Settlement Agreement provides that "[s]hould any provision of this
Agreement be declared invalid or unenforceable by the court in reviewing and
approving this settlement agreement, such invalidity or unenforceability shall not
affect the remainder of the Agreement in any manner, which shall remain in full
force and effect." Settlement Agreement § 10.J.
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     It is FURTHER ORDERED that all claims in the above-styled action are

hereby DISMISSED with prejudice.

     The Clerk is directed to CLOSE the case.


     IT IS SO ORDERED this J^Say of July, 2022.



                                     ^i/-6^
                                   MARK H. COHEN
                                   United States District Judge
